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                       EXHIBIT D
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    1                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
    2                           MARSHALL DIVISION

    3
        JOE ANDREW SALAZAR                 )(     CIVIL DOCKET NO.
    4                                      )(     2:16-cv-196
             VS.                           )(
    5                                      )(     MARSHALL, TEXAS
                                           )(     8:47 A.M.
    6   HTC CORPORATION                    )(     May 10, 2018

    7
                             TRANSCRIPT OF JURY TRIAL
    8                     MORNING AND AFTERNOON SESSIONS
                      BEFORE THE HONORABLE RODNEY GILSTRAP,
    9                      UNITED STATES DISTRICT JUDGE

   10
        APPEARANCES:
   11

   12   FOR THE PLAINTIFFS:

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   21                                 Official Reporter
                                      100 E. Houston Street
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                                      (903) 923-7464
   23

   24   (Proceedings recorded by mechanical stenography, transcript
        produced on a CAT system.)
   25
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    1             He's also failed -- Mr. Salazar's also failed to

    2   show infringement by the HTC One M9.           He has failed to

    3   present any evidence that the HTC One M9 infringed the '467

    4   patent.    Instead, merely presenting multiple instances of

    5   Mr. Griffin's repeated conceding that his sole support for

    6   opining on infringement by the HTC One M9 was the inference

    7   he draws that the HTC One M9 device infringed because the

    8   accused devices had only one piece of software, one version

    9   of the SDK, and the same hardware.

   10             But the software in the M9 is different.             That's

   11   not contested.      Griffin later explained that the software in

   12   the phone that enabled the allegedly infringing

   13   functionality is actually in two parts, an application and

   14   software related to the infra-red remote part of the

   15   circuitry.

   16             Mr. Griffin admits that the application software on

   17   the HTC One M9 is not the same as it is on the One M7 and

   18   One M8.    And to the extent the IR hardware is the same for

   19   the devices, Mr. Griffin concedes that the hardware only

   20   relates to the infra-red frequency transceiver element and

   21   not the other hardware elements of the claim.

   22             Thus Mr. -- Mr. Griffin's inferences were

   23   unjustified and merely conclusory statements.             Because he's

   24   failed to prove evidence that the HTC One M9 infringes any

   25   claim, HTC respectfully requests judgment of no infringement
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    1   as a matter law as to those devices.

    2             And lastly, Mr. Salazar's presented -- not

    3   presented sufficient evidence that HTC Corporation performs

    4   any infringing acts.       Mr. Salazar has failed to produce any

    5   evidence showing that HTC Corp violated Section 271(a)

    6   requiring proof of the acts to occur within the United

    7   States.

    8             HTC Corporation is a Taiwanese corporation doing

    9   business in Taiwan.       In contrast, the non-party, HTC

   10   America, is the company responsible for sales and marketing

   11   in the United States.

   12             During Mr. Salazar's case-in-chief, he was never

   13   able to establish that it was HTC Corporation who -- who

   14   made, used, offered for sale, and sold the accused devices

   15   in the United States or imported the infringing product into

   16   the United States.

   17             Just this week, Mr. Sal -- Mr. Salazar stipulated

   18   that HTC Corporation does not make any accused product in

   19   the United States.       And Mr. Salazar failed to show any

   20   evidence that HTC Corp uses any device in the United States.

   21             Finally, Mr. Salazar has not presented evidence

   22   that HTC Corp imported accused devices in the United States.

   23   And even if the accused devices otherwise infringe, Mr.

   24   Newby-House and Ms. Lai provided testimony that the only

   25   entity that could have performed any allegedly infringing
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    1   act in the United States is HTC America.

    2             For example, all of the invoices that are in

    3   evidence for the accused products show sales of those

    4   accused products by HTC America to U.S. customers.              Those

    5   same invoices show that the origin of those products is

    6   Taiwan, and the evidence shows that HTC America is the

    7   importer of the accused products in the United States.

    8             THE COURT:     Anything further, Mr. Klein?

    9             MR. KLEIN:     That's it.

   10             THE COURT:     All right.      Let me now hear argument on

   11   the issue of validity/invalidity.           I'll hear from

   12   Mr. Keyhani first.

   13             MR. KEYHANI:      Thank you.

   14             I -- we do have one other issue after that we're

   15   going to move on -- on the issue --

   16             THE COURT:     What is that?

   17             MR. KEYHANI:      The issue of marking.

   18             THE COURT:     That's why I asked you to begin with --

   19             MR. KEYHANI:      I'm sorry.

   20             THE COURT:     -- what issues did you intend to raise.

   21   Let's -- let me hear on invalidity.

   22             MR. KEYHANI:      Sure.    Yes.

   23             Plaintiff moves under Rule 50(a) for judgment as a

   24   matter of law that HTC Corporation's defense and declaratory

   25   judgment claim of inva -- invalidity because evidence it
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    1                                CERTIFICATION

    2

    3                      I HEREBY CERTIFY that the foregoing is a

    4   true and correct transcript from the stenographic notes of

    5   the proceedings in the above-entitled matter to the best of

    6   my ability.

    7

    8
        /s/ Shelly Holmes
    9   SHELLY HOLMES, CSR, TCRR                           May 10, 2018
        Official Court Reporter
   10   State of Texas No.: 7804
        Expiration Date 12/31/18
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